         Case 3:18-cr-00067-MCR Document 9 Filed 06/28/18 Page 1 of 2



                                                                             Page 1 of 2

                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                          Case No. 3:18cr67-MCR

CHRISTOPHER A. CARTER
_____________________________/

                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Counts One and Two of the

Information. After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowing and voluntary and that the offense charged is supported by and independent

basis in fact containing each of the essential elements thereof. I therefore recommend

that the plea of guilty be accepted and that the Defendant be adjudicated guilty and

have sentence imposed accordingly.

Dated:       June 28, 2018.

                                 /s/   Charles J. Kahn, Jr.
                                 CHARLES J. KAHN, JR.
                                 UNITED STATES MAGISTRATE JUDGE
        Case 3:18-cr-00067-MCR Document 9 Filed 06/28/18 Page 2 of 2



                                                                       Page 2 of 2

                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations may be filed
within twenty-four (24) hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's findings or recommendations contained in a report and recommendation
in accordance with the provisions of 28 U.S.C. § 636(b)(1) waives the right to
challenge on appeal the district court's order based on unobjected-to factual and
legal conclusions. See U.S. Ct. of App. 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case No. 3:18cr67-MCR
